                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO

In re:                                          )    CASE NO. 22-50763-AMK
                                                )
   WILLIAM J. HUET                              )    CHAPTER 7
   LISA J. HUET                                 )
                                                )    JUDGE Alan M. Koschik
   Debtors                                      )

          TRUSTEE’S NOTICE OF INTENT TO PROCEED WITH 341 MEETING OF
         CREDITORS TELEPHONICALLY AND PROCEDURES REGARDING SAME

          PLEASE TAKE NOTICE that the Trustee intends to proceed telephonically with the

Meeting of Creditors provided under 11 U.S.C. § 341 in the above captioned case on the

following scheduled date and time:

          Date: September 9, 2022

          Time: 12:00 PM

          PLEASE TAKE FURTHER NOTICE that the dial-in number for the telephonic Meeting

of Creditors will be 1-877-937-3216. To join the telephonic Meeting on the above date and time,

each participant must use a touch tone phone and dial the above access number. At the prompt,

all participants must enter the passcode 9180173 followed by the # sign.

          PLEASE TAKE FURTHER NOTICE that the telephonic Meeting of Creditors will be

electronically recorded.     To ensure the quality of the record, please be sure to limit any

background noise. Participants must be able to hear all parties for the entirety of the call.

Accordingly, please mute your phone and do not speak until your case is called (other Meetings

of Creditors may be in session when you call in). Un-mute your phone when your case is called.

When speaking, please be sure to identify yourself. Do not put the phone on hold at any time

after the call is connected. Once your Meeting of Creditors is finished, please hang up. If you




22-50763-amk        Doc 26     FILED 08/23/22       ENTERED 08/23/22 14:39:15     Page 1 of 2
become disconnected before your Meeting of Creditors is finished, call back.

    PLEASE TAKE FURTHER NOTICE that the following information must be submitted to

the Trustee no later than 4:00 p.m. the day before the above meeting date:


    •    photo identification for the Debtor(s)
    •    evidence of the social security number for the Debtor(s)
    •    a scan or copy of the Debtor(s)’ original signature on the petition, declaration of
         schedules, and statement of financial affairs

The above information must be sent using the Blue Stylus – Trustee Collaborative system or by

email to akrontr@suharlaw.com or by fax to (330) 744-5857.

         PLEASE TAKE FURTHER NOTICE that failure to comply with the above procedures

shall be deemed a failure to appear at the 341 Meeting of Creditors.




                                                                /s/ Melissa M. Macejko
                                                                Melissa M. Macejko
                                                                Chapter 7 Trustee
                                                                P.O. Box 266
                                                                Cuyahoga Falls, OH 44222
                                                                Telephone: (330) 744-9007 ext. 6
                                                                Email: akrontr@suharlaw.com




Cc: all entities and individuals who are listed on the Court's Electronic Mail Notice List




22-50763-amk          Doc 26       FILED 08/23/22           ENTERED 08/23/22 14:39:15              Page 2 of 2
